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                                                     OFFICEOF THE
                                 CIT              ^LIvuNISTRATOR

MarkE, Farrell, Mayor
NaomiM. Kelly, CityAdministrator




        February 23, 2018


        David Sobel
        Executive Director
        San Frgncisco HQUsittg Developroent CorpQ ration
        4439 Third Street
        SanPrancisco, QA 94124

        RE: Letter of Intent for Actfvation oftheFillmore Heritage Center

        DearMr. Sobel;

        TheCity andCouptyofSan Francisco ("the City") ispleasedto provide this Letter oflatent ("LOI") regardtog fhe
        SanFranciscoHousingDevdopment Corporatio&'s ("SFHDC")andtheNewCommuDity LeadershipFoundation's
        ("NCLP")proposedyseoftheFillmore Heritage Center("FHC",orthe"Site")forinterunactivation, and
        potentially lorig-tenn use,servingasanincubatorforcommunity programming, woaomic development andlong-
        termcommunity investment. TheCitywderstandstheimportance oftheFHCinthecultural andeconomicvitality
        oftheFillmoreneighborhood asa whole, anditspotentialtoprovidejobopportunities forlow-incomeresidents
        fromthesurroundmgcommunily. TheCitysupportsyourapplication{offundingtocreatebothaninterimand
        long-term, commuuty-based sfrategyto achieveourmutual goals forthe Site.
        Tofhatend,the City mtends toprovide a leaseforthe Site,subject tothefollowing anticipated terms, which areto
        benegotiatedandstipulatedinaayforinalleaseagreement:
            A. TERM

                 TheinitialleaseperiodwouldcommenceonJuly1, 2018,pendingtheoutwroeofthePannieMae
                 BmovationChallenge grantof$500,000.Theinitialterm oftheleasewouldbeone(1)yearwitha renewal
                 OEtionforanadditionalone(1)year,subjecttoreview, evaluation andmutualagreement amongtheCity,
                 SFHD.O and^TCLF(together,fte "Parties).
             B. MASTER TENANTand PREMISES

                 SFHDCwould $erveasfhe"MasterTenant" forthefollowmg portions offeeSiteCQmprisingthe&rmer
                 Yoshi'sandPillmoreHeritageCenter: therestaurant,kitchen(s),perfQnnaneevenue,gallery,screening
                 room andlobby. Theextentparkinggarageandthe 1300FiUmorerestawantspacewouldbeexcluded
                 fromthisleaseandfromSFHDC'sand/orNCLP'srespotisibilities,andwouldremainthesole
                 responsibility ofthe City, gs owners ofthe Site.

             C. SUB-TENANTS

                 TheCitysupports SFHDCto leveragebothshort-term andmonthlyrentalsoftheSitetoprivatebusinesses
                 andnonprofitorganizations,providedfhafthesubleasetennsdonotexceedthetermofSFHDCs master
                 lease with the City.

             D. PARTNERSHIPS




                            1 Dr. Carlton B. Ooodbtt;Place, City Hall, Room 362, SoftFrancisco, CA 94102
                                           Telephone (415) 554-4852; Fax(415) 554-4849
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          SFHDCwillnegotiateingoodfaithtoformpartnerships witheventpromoters, vendors, foodservice
          prowdws Midcoaununity oiganizatioDswithttheexpertiseandcapacityto^sustainoperations ateconol
                                                                                                theFillmore
                                                                                                     mie
          Qerits^Cwtss during the term ofactivation. Suchpartaership agreements^ shQ^dreflectb^
          viabffity mdclearCQimnitmwt tocommunity^events. ItisexpectedtheCitywUlfacyitatediscussions
          amongSFiD3C^NCLFandnationaUy-recognized,potential,perfonpaacevenuepartoers. Thefinal
          selectTon'ofanypetfounancevenuepartneremustbereviewedandapprovedbytheCity.
    E. OVERHEADAND FEES

          SFHDCanditspartners wouldberesponsible forpayingaUCommon AreaMaintenanc^CAM") Fees
          assodatedwithSe'abowdescribed MasterTenantspace,totalmg$25,000permontli. SFHDCandits
          partnerswouldalsoteresponsible forpayingallutilities, mteroet,jamtorial, security, licenses, ]
          generaloperatingexpenses.

    F. INSURANCE

          SFHDCshall,atitssoleexpanse,obtainandmaintaiueommercialgeneralliability.ilnsuranc,ewthP^iSf
                                                                                  in accordattce with the
          rimftsTfnotTess thanTl. Ood^QO and provide to the City   a   certificate of insurance
          City's specifications.

    G. COMPLIANCEWITHLAW
          SPHDCwillcertifyandassurecompliance withalllocal,state,andfederallawsaadregulations applicable
          to the conduct ofitsbusiness and its performance,

    H. SFHDC FISCALSPONSORSHIP

          SFHDCwouldagreetoserveasFiscalSponsorforoneormorecommuiuty-based, non-PTOfitOT8amzatiolls
          fromfhesunouaSngneighborhood,subjecttonegotiationofthetermsofsuchsponsorship,indudmg
          allowancefor standardadmmistrgtivecosts.

     I,   LOIEXPIRATION and LEASEEXECUTION

          ThisLOlisintendedtoaidSFHDCandNCLFinobtainmg fundingtopursue a conununity-based strategy
          foriheSite,with<faeexpectationthat,shouldfundingcometofruition,theCityal^sFHDCSha", exwute a
          shorweunleasefertiie Sitethatwouldallowforthecreationofa long-termplanfortheSite.^
          willexpireupontheearlierof: a)six(6)monthsfromfhedateoflfaeletter;or 1
          leasebetweenSFHDCandthe City.



          Sincerely,




          NaomilM. Kelly
          City Adminjstrator




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